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                                               November 26, 2018
   Honorable Richard G. Andrews
   United States District Court for the
   District of Delaware
   J. Caleb Boggs Federal Building
   844 North King Street
   Unit 9
   Room 6325
   Wilmington, DE 19801-3555

            Re:      United States v. Wilmington Trust Corporation, et al. (Kevyn Rakowski)
                     1:15-cr-00023-RGA

   Dear Judge Andrews:

          On behalf of the four individual defendants, please accept this letter in lieu of a more
   formal response to the Government's Motion to Unseal Defendants Sentencing Memoranda
   (Document 854/Filed 11/21/18).

            The Government asserts the following in paragraph 9 (at page 4) of its motion: "Ignoring
   the Court's prior ruling and clear precedent favoring the filing of sentencing materials publicly,
   Defendants submitted sentencing memoranda to the Clerk's Office absent a motion justifying the
   sealed filing." This is mistaken. Our legal assistant contacted Your Honors deputy clerk prior to
   the sentencing submission due date to ask whether the submissions should be filed under seal or
   publicly with redactions. We were advised that--at this juncture--Your Honor did not have a
   preference. Your Honor's deputy clerk also provided our office with the specific procedure for
   filing the submissions under seal, which we followed. Naturally, defense counsel has anticipated
   discussing with the Government the publication of the sentencing submissions. Now that the
   submissions have been circulated among the parties, it is the time to do so.

          To the extent that the Government is correct that the sentencing submissions contain
   material that should be available publicly, defense counsel requests an opportunity to meet and
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 confer with the Government to discuss redactions that may be appropriate. For example,
 Defendant Rakowski's sentencing memorandum includes sensitive personal information,
 including medical information, that ordinarily would be kept confidential. Additionally, each of
 the defendants memoranda attach sentencing character letters that in many cases were written
 by private citizens whose contact information should remain private.

         In this regard, attached as Exhibit A to this letter is the protocol utilized in the United
 States District Court for the District of New Jersey regarding the submission and publication of
 sentencing materials:

 http://www.njd.uscourts.govisitesinjd/files/Protocol%20for%20Disclosure%20oP/020Sentencing%20Mat
 erials_0.pdf

 While this Court will make its own judgment as to the proper procedure here, the District of New
 Jersey protocol includes procedures to accommodate the interests identified in the Government's
 motion and may provide helpful guidance to the parties.

        Counsel will report back to the Court after the "meet and confer." If the Court wishes to
 convene a telephone conference to discuss this issue in the meantime, however, counsel is
 available at the Court's direction.

        Thank you for your thoughtful consideration.


                                               Respectfully submitted,

                                               s/Henry E. Klingeman
                                                 hklingeman krovatin.com



 cc: All counsel of record
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                             EXHIBIT A
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                                            NOTICE


        ON June 22, 2017, the judges of the United States District Court, recognizing the benefit
of promoting the public' s understanding of, and access to, judicial proceedings, as well as privacy
and security concems relating to the electronic filing of court documents, as reflected in Sec. 205
of the E-Government Act of 2002 (Pub. L. No. 107-347);

   RESOLVED to approve the following protocol for adoption:

   1. Sentencing Memoranda, along with all supporting exhibits and correspondence
      (collectively, the "Sentencing Materials"), shall be submitted directly to the Sentencing
      Judge, the United States Probation Office, and all counsel of record in the underlying
      prosecution ("Counsel of Record"), and not filed on the Court' s Case
      Management/Electronic Case Files System ("ECF"). However, at the same time
      Sentencing Materials are submitted to the Court, the submitting party shall also file a notice
      on ECF (a "Submission Notice"), on a form prescribed by the Clerk of the Court, that
      Sentencing Materials have been submitted to the Court.

   2. Anyone who wishes to obtain a copy of the Sentencing Materials (a "Requestor") must
      make a Request for Disclosure on a fonn prescribed by the Clerk of the Court within two
      business days of the filing of a Submission Notice under Paragraph 1. If the Requestor is
      represented by counsel, this Request for Disclosure will be available as an electronic filing
      option and shall be filed on ECF. If the Requestor is not represented by counsel, a Request-
      for-Disclosure forn can be obtained from the Clerk of the Court and shall be sent to all
      Counsel of Record and the Court. The Court shall cause the Request-for-Disclosure form
      to be docketed on ECF. In all cases, the Request for Disclosure shall clearly identify the
      name of the Requestor, the name of counsel for the Requestor, if any, and the address
      either electronic or mailing to which the Sentencing Materials should be sent.

   3. Unless otherwise instructed by the Court, upon receipt of a Request for Disclosure, Counsel
      of Record shall meet and confer in order to detennine what non-public information should
      be redacted from the Sentencing Materials. Presumptively Non-Public Information
      includes the following: references to the Presentence Report ("PSR"); names of victims,
      witnesses, and other individuals whose identity and roles were not previously disclosed;
      infon-nation regarding cooperation by the defendant and others that was not previously
      disclosed, sensitive personal information concerning the defendant and others, including
      but not limited to medical or psychological reports and data, personal identifying
      information such as addresses, social security numbers, account numbers, and dates of
      birth; and information obtained during the course of a Grand Jury or law enforcement
      investigation that was not previously disclosed. All redactions should be sufficient to
      ensure that the content of the redacted information is not apparent from the context of the
      surrounding text.
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   4. All proposed redactions to the Sentencing Materials shall be made prior to disclosure
      regardless of whether the parties to the underlying prosecution agree on the redactions.
      Following any redactions, Counsel of Record shall coordinate to send the Sentencing
      Materials to the electronic or mailing address specified in the Request for Disclosure or, if
      directed by the Court, to electronically file the Sentencing Materials on the docket.

   5. A Requestor who wishes to challenge the redactions may do so in accordance with the
      individual Sentencing Judge' s practices. The procedure and timing for resolving a Request
      for Disclosure is left to the discretion of the individual Sentencing Judge.


   In accordance with the Resolution approved by the judges of this Court on June 22, 2017, the
above protocol applies to all Sentencing Materials filed in this district on or after September ,1 ,
2017.


                                                             s/Jose L. Linares, Chief Judge
June 22, 2017                                                United States District Court
                                                             for the District of New Jersey
